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              IN THE UNITED STATES DISTRICT COURT

               FOR THE NORTHERN DISTRICT OF OHIO

                            EASTERN DIVISION




RENISHA RAMSEY,                      ) CASE NO.
 4694 E 144th Street
 Cleveland, OH 44128                 ) JUDGE

                     Plaintiff,      )
-vs-                                     COMPLAINT
                                     )

                                     )
CITY OF CLEVELAND,                       Trial by Jury Endorsed Hereon
  1200 Ontario Street                )
  Cleveland, OH 44101
                                     )
       and
                                     )
SPENCER BELLAMY, individually
and in his official capacity as      )
Probation Officer for the City of
Cleveland                            )
  1200 Ontario Street
  Cleveland, OH 44101                )

        and                          )
LACORA TURNER, individually
and in her official capacity as      )
Probation Officer for the City of
Cleveland                            )
   1200 Ontario Street
   Cleveland, OH 44101               )

and                                  )

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OFFICER DENISE RUDOLPH,                    )
individually and in his official Bailiff
for the City of Cleveland                  )
    1200 Ontario Street
    Cleveland, OH 44101                    )

        and                                )

                                           )

JOHN DOE 1, individually and in his        )
official capacity as an employee of the
City of Cleveland                          )
    1200 Ontario Street
    Cleveland, OH 44101                    )

        and                                )

JOHN DOE 2, individually and in his        )
official capacity as an employee of the
City of Cleveland                          )
    1200 Ontario Street
    Cleveland, OH 44101                    )

        and                                )

JOHN DOE 3, individually and in his        )
official capacity as an employee of the
City of Cleveland                          )
    1200 Ontario Street
    Cleveland, OH 44101                    )

        Defendants.                        )




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                            INTRODUCTION

1. This is an action by private citizen for injuries arising out of violations of

   violation of federally protected rights insured under the Fourth and

   Fourteenth Amendments to the Constitution of the United States. The

   plaintiff seeks declaratory and injunctive relief and damages.



                    CLAIMS AND JURISDICTION

2. This action is initiated pursuant the Civil Rights Act of 1871, 42 U.S.C. §

   1983 to redress deprivations under law and privileges and immunities

   secured to the plaintiffs under the Fourth and Fourteenth Amendments to

   the United States Constitution as a result of the use of excessive force by

   the defendants under color of law. Jurisdiction is invoked pursuant to 28

   U.S.C. §§ 1331 and 1343(3) and (4).         To the extent state claims are

   asserted, plaintiff institutes this action pursuant to 28 U.S.C. §1367 and to

   the extent declaratory relief is sought, claims are asserted pursuant to 28

   U.S.C. §§ 220l and 2202. The claim arises out of the City of Cleveland,

   Ohio within which the plaintiff resided and within which the defendants

   engaged in the actions set forth below.

3. At all times relevant to this complaint, defendants acted under color of law

   and under color of the official governmental policy, practice, regulations,

   customs and usages of official governmental authority.

                                 PARTIES

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4. Plaintiff, RENISHA M. RAMSEY, is a citizen of the United States and a

   resident of the Cleveland, Ohio.

5. Defendant, THE CITY OF CLEVELAND, is a public entity located in the

   United States organized under the laws of the State of Ohio as a municipal

   corporation in Cleveland, Ohio.

6. Defendant, SPENCER BELLAMY, individually and officially, operated

   under color of state law to deprive plaintiff of rights afforded under the

   Fourth and Fourteenth Amendments to the United States Constitution as a

   result of the use of excessive force by the defendant under color of law.

7. Defendant, LACORA TURNER, individually and officially, operated under

   color of state law to deprive plaintiff of rights afforded under the Fourth

   and Fourteenth Amendments to the United States Constitution as a result of

   the use of excessive force by the defendant under color of law.

8. Defendant, DENISE RUDOLPH, individually and officially, operated

   under color of state law to deprive plaintiff of rights afforded under the

   Fourth and Fourteenth Amendments to the United States Constitution as a

   result of the use of excessive force by the defendant under color of law.

9. Defendant, JOHN DOE 1, individually and officially, operated under color

   of state law to deprive plaintiff of rights afforded under the Fourth and

   Fourteenth Amendments to the United States Constitution as a result of the

   use of excessive force by the defendant under color of law.




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10. Defendant, JOHN DOE 2, individually and officially, operated under color

   of state law to deprive plaintiff of rights afforded under the Fourth and

   Fourteenth Amendments to the United States Constitution as a result of the

   use of excessive force by the defendant under color of law.

11. Defendant, JOHN DOE 3, individually and officially, operated under color

   of state law to deprive plaintiff of rights afforded under the Fourth and

   Fourteenth Amendments to the United States Constitution as a result of the

   use of excessive force by the defendant under color of law.

                           FACTS OF THE CASE

12. On May 19, 2014, Plaintiff was found guilty of License Required to

   Operate,     a    violation    of     R.C.   435.01,   and   Driving   Under

   Suspension/Revocation, a violation of           R.C. 4510.11, in Cleveland

   Municipal Court, in case State of Ohio/City of Cleveland vs. Renisha

   Ramsey, Case no. 2013 TRD 064344.

13. On May 19, 2014, Plaintiff was ordered to perform 30 hours of Community

   Work Service.

14. On June 26, 2014, judgment was entered indicating that “Community work

   service completed, fine satisfied, sentence satisfied as to costs.”

15. On October 17, 2014, judgement was entered that the “Sentence ordered by

   this court is satisfied in its entirety.”

16. On the same date, judgment was entered that “Sentence ordered by this

   court is suspended in its entirety.”


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17. On the same date, judgment was entered that “Probation is hereby ordered

   terminated.”

18. On February 19, 2015, a hearing was scheduled for January 16, 2015, the

   previous month, which was noted as a “Get on Track Compliance

   Hearing.”

19. On March 5, 2015, judgement was issued that plaintiff had failed to appear

   and a capias was ordered.

20. On March 6, 2015, a letter was sent to plaintiff regarding the capias for

   failure to appear.

21. On March 15, 2015, plaintiff contacted Defendant Probation Officer

   Bellamy about the capias that was issued.

22. Defendant Bellamy instructed plaintiff to come to the 6th floor probation

   department and he would correct the erroneous capias.

23. On March 19, 2015, plaintiff arrived at the 6th floor of the City of Cleveland

   and informed Defendant Rudolph that plaintiff was there to see Defendant

   Bellamy and Defendant Turner.

24. Defendants Bellamy and Turner failed to come to meet plaintiff to resolve

   erroneous capias as follows.

25. Plaintiff clearly explained the status of her case which could have been

   easily confirmed by a simple review of the docket.




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26. Defendant Rudolph threatened plaintiff by saying “you are about to go to

   jail.” Defendant Rudolph also said to plaintiff, “you must think this is

   Burger King.”

27. After waiting for approximately one hour, Plaintiff attempted to leave and

   go to the cafeteria to meet with her family.

28. Defendant Rudolph stated “If you leave, we are going to call a supervisor

   and going to run your name through the system.”

29. Defendant Rudolph then attempted to apprehend Plaintiff and told Plaintiff

   to “get up” from the bench that Plaintiff was sitting on.

30. Plaintiff asked why she needed to get up and held onto the bench that she

   was sitting on.

31. Defendant Rudolph stated to Plaintiff “I’m not going to explain my mother

   fucking self.”

32. Defendant Rudolph along with ten other city employees surrounded

   Plaintiff and took her to the ground. They struck her in the face and arm.

   The city employees and defendant Rudolph restrained Plaintiff by the wrist

   and placed a knee in her back.

33. Plaintiff was taken to the city jail where she remained in a jail cell for

   approximately 30 minutes waiting to be processed.

34. Defendant Turner and Defendant Bellamy then learned of the incident and

   apprehension and retrieved Plaintiff prior to the processing being finalized.




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35. Plaintiff was taken to the courtroom of Judge Groves where Judge Groves

   apologized to Plaintiff for the incident that occurred.         (Transcript is

   attached to complaint as Exhibit 1).

36. Judge Groves cancelled and recalled the capias.

37. The force used by defendants under color of law was clearly unreasonable,

   unnecessary and excessive.

38. Defendants knew that they employed excessive force with the intention of

   causing physical and personal injury to the plaintiff.

39. On May 21, 2015, Plaintiff through her counsel requested information

   related to the assault, pursuant to the Ohio Open Records Law, §149.43 et

   seq., entitled Freedom of Information Request. (Request is attached to

   complaint as Exhibit 2).

40. On June 10, 2015, Plaintiff’s counsel followed up on the request and sent a

   second request to Defendant city’s representative.

41. On July 2, 2015, July 21, 2015, July 23, 2015, July 30, 2015, August 14,

   2015, and August 31, 2015, Plaintiff, through her counsel, contacted

   Defendant City’s representative seeking a status on the request.

42. Defendant City has failed to promptly prepare the public record and to

   make it available to the person for inspection, pursuant to ORC 149.43(C)

   (1).

43. As a result of defendants’ actions under color of law, plaintiffs suffered and

   continue to suffer substantial emotional distress.


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    44. As a result of the acts and conduct of the defendants, plaintiffs suffered and

          continue to suffer substantial physical pain, emotional distress and fear that

          defendants will engage in acts and conduct adverse and detrimental to the

          safety and security of the plaintiffs.

    45. As part of defendants’ conduct under color of law, plaintiffs’ right to be

          secure under the Fourth and Fourteenth Amendments to the Constitution of

          the United States from physical harm without cause has been denied.

    46. As part of defendants’ conduct under color of law, plaintiff’s right to be

          free from assault, battery and infliction of physical and emotional injuries

          without regard to their color under pendent state law has been denied.

    47. The actions of the defendants were intentional, malicious, callous, and

          deliberate and in wanton and reckless disregard of the rights and feelings of

          the plaintiffs and otherwise designed to cause physical and emotional injury

          to the plaintiffs.

                 WHEREFORE, plaintiff urges this Court to grant the following

relief:

                 A.      Declare that the acts and conduct of the defendants
                         in the use of excessive force constitutes violations
                         of the rights of the plaintiffs under the Fourth and
                         Fourteenth Amendments to the Constitution of the
                         United States in contravention of the Civil Rights
                         Act of 1871, 42 U.S.C. § 1983 and which
                         constitute pendent state claims of assault, battery
                         and intentional infliction of emotional distress
                         under state law;

                 B.      Permanently enjoin the defendants, either
                         individually or in concert with others, from

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                     retaliating against the plaintiffs in the future
                     arising out of the assertion of her rights protected
                     under the Constitution of the United States;

              C.     Grant to the plaintiffs and against the defendants
                     appropriate compensatory damages and as to
                     defendants Bellamy, Turner, and Rudolph
                     appropriate punitive and exemplary damages along
                     with costs and statutory reasonable fees as
                     expressly provided by law;

              D.     Order the public office or the person responsible
                     for the public record to comply with ORC §
                     149.43 (B) and award court costs and reasonable
                     attorney's fees for violation thereof;

              E.     Grant any additional relief the Court deems just
                     and equitable in order to advance the public
                     interest.

                                                 /s/ Laura Kramer Rubadue
                                                Laura Kramer Rubadue (0067656)
                                                AVERY FRIEDMAN & ASSOCIATES
                                                701 The City Club Building
                                                850 Euclid Avenue
                                                Cleveland, Ohio 44114-3358
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                                                FAX (216) 621-9283
                                                avery@lawfriedman.com
                                                laura@lawfriedman.com

                                                Attorney for Plaintiff


                        TRIAL BY JURY DEMANDED

Plaintiffs hereby demands trial by jury.


                                                 /s/ Laura Kramer Rubadue
                                                LAURA KRAMER RUBADUE




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